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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.

IT IS SO ORDERED.




Dated: December 05, 2005


____________________________________________________________


                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

In re:                                                      )   Chapter 11
                                                            )
EAGLE PICHER HOLDINGS, INC., et al.,                        )   Jointly Administered
                                                            )   Case No. 05-12601
                    Debtors.                                )
                                                            )   Judge J. Vincent Aug, Jr.


         ORDER GRANTING MOTION OF DEBTORS FOR AN ORDER FURTHER
       EXTENDING EXCLUSIVE PERIODS TO FILE PLANS OF REORGANIZATION
                    AND SOLICIT ACCEPTANCES THEREOF


           This matter having come before this Court on the Motion of Debtors for an Order Further

Extending Exclusive Periods to File Plans of Reorganization and Solicit Acceptances Thereof

(the “Motion”)1 [Docket No. 1187], and the Court finds that (i) it has jurisdiction over the

matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1134; (ii) this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief requested in the Motion is in the best interests

of the Debtors, their estates and creditors; and (iv) proper and adequate notice of the Motion and


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    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.
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the hearing thereon has been given and that no other or further notice is necessary; and, after due

deliberation thereon, good and sufficient cause exists for the granting of the relief as set forth

herein,

          IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

          1.       The Motion is GRANTED.

          2.       The Debtors’ Exclusive Filing Period is extended through and including March 7,

2006.

          3.       The Debtors’ Exclusive Solicitation Period is extended through and including

May 6, 2006.

          4.       This Order is without prejudice to the Debtors’ right to seek additional extensions

of the Exclusive Filing Period and Exclusive Solicitation Period.

          5.       This Order is effective immediately upon entry.



SUBMITTED BY:

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ATTORNEYS FOR
DEBTORS AND DEBTORS IN POSSESSION
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